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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA

FRANK GATTUSO, individually and
on behalf of all others similarly
situated,                                       NO. ____________________
                    Plaintiff,                  CLASS ACTION COMPLAINT
                                                FOR DAMAGES AND
      v.                                        INJUNCTIVE RELIEF
INTERSTATE NATIONAL DEALER                      DEMAND FOR JURY
SERVICES,
                    Defendant.


      Plaintiff Frank Gattuso (“Plaintiff”), by his undersigned counsel, for this

class action Complaint against Defendant, Interstate National Dealer Services, and

its present, former, or future direct and indirect parent companies, subsidiaries,

affiliates, agents, and/or other related entities (hereinafter referred to as

“Defendant”), alleges as follows:

                                 I.     INTRODUCTION

      1.     Nature of Action. Plaintiff, individually and as class representatives

for all others similarly situated, brings this action against Defendant for violations

of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                      II.   PARTIES

      2.     Plaintiff Frank Gattuso is a citizen of New York, and resides in

Onondaga County, New York.


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       3.        Defendant is a corporation with its principal place of business in

Atlanta, Georgia.

                          III.   JURISDICTION AND VENUE

       4.        This Court has subject matter jurisdiction over Plaintiff’s TCPA

claims pursuant to 28 U.S.C. § 1331 because Plaintiff’s TCPA claims arise under

the laws of the United States, specifically 47 U.S.C. § 227.

       5.        This Court has personal jurisdiction over Defendant because it is

subject to general jurisdiction in this District and has its principal place of business

in this District.

       6.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because Defendant resides in this District and a substantial part of the events or

omissions given rise to the claims of Plaintiff and the class members occurred in

this District.

IV.    THE TELEPHONE CONSUMER PROTECTION ACT OF 1991, 47 U.S.C.

                                           § 227

       7.        In 1991, Congress enacted the TCPA in response to a growing number

of consumer complaints regarding certain telemarketing practices.

       8.        The TCPA makes it unlawful “to make any call (other than a call

made for emergency purposes or made with the prior express consent of the called

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party) using an automatic telephone dialing system or an artificial or prerecorded

voice … to any telephone number assigned to a … cellular telephone service.” See

47 U.S.C. § 227(b)(1)(A)(iii). The TCPA provides a private cause of action to

persons who receive calls in violation of 47 U.S.C. § 227(b)(1)(A). See 47 U.S.C.

§ 227(b)(3).

      9.       Additionally, the TCPA makes it unlawful “to initiate any telephone

call to any residential telephone line using an artificial or prerecorded voice to

deliver a message without the prior express consent of the called party, unless the

call is initiated for emergency purposes…” See 47 U.S.C. § 227(b)(1)(B). The

TCPA provides a private cause of action to persons who receive calls in violation

of 47 U.S.C. § 227(b)(1)(B). See 47 U.S.C. § 227(b)(3).

      10.      Federal Communication Commission (“FCC”) promulgated

regulations “generally establish that the party on whose behalf a solicitation is

made bears ultimate responsibility for any violations.” See Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991, Memorandum and

Order, 10 FCC Rcd. 12391, 12397 ¶ 13 (1995).

      11.      The FCC confirmed this principle in 2013, when it explained that “a

seller …. may be held vicariously liable under federal common law principles of

agency for violations of either section 227(b) or section 227(c) that are committed

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by third-party telemarketers.” See In the Matter of the Joint Petition Filed by Dish

Network, LLC, 28 F.C.C. Rcd. 6574, 6574 (2013).

                          V.   FACTUAL ALLEGATIONS

      12.    Defendant Interstate National Dealer Services is a publicly traded

company that offers automobile warranties. Its headquarters is in Atlanta, Georgia.

      13.    Part of Defendant’s strategy for increasing the volume of its

customers involves the use of an automatic telephone dialing system (“ATDS”)

and/or automated or prerecorded messages to solicit business.

      14.    Defendant uses ATDS equipment and software that has the capacity to

store or produce telephone numbers to be called and which includes auto-dialers

and predictive dialers.

      15.    Many of the recipients of these calls did not consent to receive such

telephone calls.

      16.    Defendant also makes calls using an ATDS and/or artificial or

prerecorded voice to cellular telephones whose owners have not provided express

prior consent to receive such calls. Plaintiff received such calls without providing

any type of prior consent.




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A.       Factual Allegations Regarding Plaintiff

         17.   In September of 2017, Plaintiff began receiving multiple

telemarketing calls on his cellular telephone from, or on behalf of, Defendant.

         18.   The calls consisted of a prerecorded message which stated words to

the effect that the call was about extending automobile warranties.

         19.   On at least two occasions, Plaintiff spoke with a live operator.

Plaintiff asked the operator to identify the company on behalf of which it was

calling, and both times the operator identified National Dealer Services.

         20.   The calls continued into March of 2018.

         21.   In March of 2018 Plaintiff chose to be placed on Defendant’s internal

“do not call” list by selecting the automated option on one of the calls.

         22.   However, the calls continued.

         23.   Plaintiff did not provide prior express consent, written or otherwise, to

receive prerecorded telephone calls on his cellular telephone from, or on behalf of,

Defendant.

         24.   Defendant is responsible for making the above-described automated

calls.

         25.   Defendant has made a significant number of automated and/or

prerecorded calls to persons throughout the United States.

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      26.     Defendant intends to continue to make similar automated and/or

prerecorded calls to persons on their cellular telephones throughout the United

States.

                      VI.    CLASS ACTION ALLEGATIONS

      27.     Class Definition. Pursuant to Rules 23(b)(2) and (b)(3), Plaintiff

brings this case as a class action on behalf of a national class defined as follows:

              All persons in the United States to whom: (a) Defendant
              and/or a third party acting on Defendant’s behalf, made
              one or more non-emergency telephone calls; (b)
              promoting Defendant’s goods or services; (c) to their
              cellular or landline telephone number; (d) through the use
              of an automatic telephone dialing system or an artificial or
              prerecorded voice; and (e) at any time in the period that
              begins four years before the date of filing this Complaint
              to trial.


      28.     In addition, Plaintiff brings this case on behalf of a subclass (the

“Subclass”) of consumers who elected to be placed on Defendant’s internal “do not

call” list but received calls anyway.

      29.     Excluded from the Class and Subclass are Defendant, any entity in

which Defendant has a controlling interest or that has a controlling interest in

Defendant, and Defendant’s legal representatives, assignees, and successors. Also

excluded are the judge to whom this case is assigned and any member of the

judge’s immediate family.
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      30.    Numerosity. The Class and Subclass are both so numerous that

joinder of all members is impracticable. On information and belief, the Class and

Subclass have thousands of members. Moreover, the disposition of the claims of

the Class and Subclass in a single action will provide substantial benefits to all

parties and the Court.

      31.    Commonality. There are numerous questions of law and fact common

to Plaintiff and members of the Class and Subclass. These common questions of

law and fact include, but are not limited to, the following:

             a.     Whether Defendant and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf violated 47 U.S.C. § 227(b)(1)(A)

by making any call, except for emergency purposes, to a cellular telephone number

using an ATDS or artificial or prerecorded voice;

             b.     Whether Defendant and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf knowingly and/or willfully

violated 47 U.S.C. § 227(b)(1)(A) by making any call, except for emergency

purposes, to a cellular telephone number using an ATDS or artificial or

prerecorded voice, thus entitling Plaintiff and the Class to treble damages; and




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             c.     With respect to the Subclass, whether Defendant keeps an

internal “do not call” list and whether it places calls or allows calls to be placed on

its behalf to members of the Subclass.

      32.    Typicality. Plaintiff’s claims are typical of the claims of the Class and

Subclass. Plaintiff’s claims, like the claims of Class and Subclass members, arise

out of the same common course of conduct by Defendant and are based on the

same legal and remedial theories.

      33.    Adequacy. Plaintiff will fairly and adequately protect the interests of

the Class and Subclass. Plaintiff has retained competent and capable attorneys

with significant experience in complex and class action litigation, including

consumer class actions and TCPA class actions. Plaintiff and their counsel are

committed to prosecuting this action vigorously on behalf of the Class and

Subclass and have the financial resources to do so. Neither Plaintiff nor his

counsel have interests that are contrary to or that conflict with those of the

proposed Class or Subclass.

      34.    Predominance. Defendant has engaged in a common course of

conduct toward Plaintiff and members of the Class and Subclass. The common

issues arising from this conduct that affect Plaintiff and members of the Class and

Subclass predominate over any individual issues. Adjudication of these common

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issues in a single action has important and desirable advantages of judicial

economy.

      35.    Superiority. A class action is the superior method for the fair and

efficient adjudication of this controversy. Classwide relief is essential to compel

Defendant to comply with the TCPA. The interest of individual members of the

Class and Subclass in individually controlling the prosecution of separate claims

against Defendant is small because the damages in an individual action for

violation of the TCPA are small. Management of these claims is likely to present

significantly fewer difficulties than are presented in many class claims because the

calls at issue are all automated. Class treatment is superior to multiple individual

suits or piecemeal litigation because it conserves judicial resources, promotes

consistency and efficiency of adjudication, provides a forum for small claimants,

and deters illegal activities. There will be no significant difficulty in the

management of this case as a class action.

      36.    Injunctive and Declaratory Relief Is Appropriate. Defendant has

acted on grounds generally applicable to the Class and Subclass, thereby making

final injunctive relief and corresponding declaratory relief with respect to the Class

and Subclass appropriate on a classwide basis. Moreover, on information and

belief, Plaintiff alleges that the automated calls made by Defendant and/or its

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affiliates, agents, and/or other persons or entities acting on Defendant’s behalf that

are complained of herein are substantially likely to continue in the future if an

injunction is not entered.


                                VII. LEGAL CLAIMS

                             FIRST CLAIM FOR RELIEF

(Violations of the Telephone Consumer Protection Act, 47 U.S.C. §

227(b)(1)(A)

         37.   Plaintiff realleges and incorporates by reference each and every

allegation set forth in the preceding paragraphs.

         38.   The foregoing acts and omissions of Defendant and/or its affiliates,

agents, and/or other persons or entities acting on Defendant’s behalf constitute

numerous and multiple violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), by

making calls, except for emergency purposes, to the cellular telephone numbers of

Plaintiff and members of the Class using an ATDS and/or artificial or prerecorded

voice.

         39.   As a result of Defendant’s and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf’s violations of the TCPA, 47

U.S.C. § 227(b)(1)(A), Plaintiff and members of the Class presumptively are


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entitled to an award of $500 in damages for each and every call to their cellular

telephone numbers using an ATDS and/or artificial or prerecorded voice in

violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

      40.     Plaintiff and members of the Class are also entitled to and do seek

injunctive relief prohibiting Defendant and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf from violating the TCPA, 47

U.S.C. § 227(b)(1)(A), by making calls, except for emergency purposes, to any

cellular telephone numbers using an ATDS and/or artificial or prerecorded voice in

the future.

                        SECOND CLAIM FOR RELIEF
              (Knowing and/or Willful Violations of the Telephone
               Consumer Protection Act, 47 U.S.C. § 227(b)(1)(A))

      41.     Plaintiff realleges and incorporates by reference each and every

allegation set forth in the preceding paragraphs.

      42.     The foregoing acts and omissions of Defendant and/or its affiliates,

agents, and/or other persons or entities acting on Defendant’s behalf constitute

numerous and multiple knowing and/or willful violations of the TCPA, 47 U.S.C.

§ 227(b)(1)(A), by making calls, except for emergency purposes, to the cellular

telephone numbers of Plaintiff and members of the Class using an ATDS and/or

artificial or prerecorded voice.

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      43.     As a result of Defendant’s, and/or its affiliates, agents, and/or other

persons or entities acting on behalf of, Defendant, knowing and/or willful

violations of the TCPA, 47 U.S.C. § 227(b)(1)(A), Plaintiff and members of the

Class are entitled to treble damages of up to $1,500 for each and every call to their

cellular telephone numbers using an ATDS and/or artificial or prerecorded voice in

violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).

      44.     Plaintiff and members of the Class are also entitled to and do seek

injunctive relief prohibiting Defendant and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf from violating the TCPA, 47

U.S.C. § 227(b)(1)(A), by making calls, except for emergency purposes, to any

cellular telephone numbers using an ATDS and/or artificial or prerecorded voice in

the future.

                           THIRD CLAIM FOR RELIEF
 (Violations of 47 C.F.R. § 64.1200(d) & 47 U.S.C. § 227(c)(5) – Internal Do-
         Not-Call List) (Brought by Plaintiff on Behalf of the Subclass)

      45.     Plaintiff realleges and incorporates by reference each and every

allegation set forth in the preceding paragraphs.

      46.     The foregoing acts and omissions of Defendant and/or its affiliates,

agents, and/or other persons or entities acting on Defendant’s behalf constitute

numerous and multiple violations of 47 C.F.R. § 64.1200(d), by initiating any call

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for telemarketing purposes to Plaintiff and members of the Subclass, without

following procedures for maintaining a list of persons who request not to receive

telemarketing calls (“internal do-not-call list”). This includes Defendant’s failure

to properly record do-not-call requests, failure to maintain a record of do-not-call

requests, and failure to honor do-not-call requests.

      47.    As a result of Defendant’s and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf’s violations of 47 C.F.R. §

64.1200(d), Plaintiff and members of the Subclass are entitled to an award of $500

in statutory damages for each and every call in violation of the internal do-not-call

list regulation, pursuant to 47 U.S.C. § 227(c)(5)(B).

      48.    Plaintiff and members of the Subclass are also entitled to and do seek

injunctive relief prohibiting Defendant and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf from violating 47 C.F.R. §

64.1200(d) by failing to follow procedures for maintaining a list of persons who

request not to receive telemarketing calls in the future, pursuant to 47 U.S.C.

§ 227(c)(5)(A).

                   FOURTH CLAIM FOR RELIEF
 (Knowing and/or Willful Violations of 47 C.F.R. § 64.1200(d) & 47 U.S.C. §
                   227(c)(5) –Internal Do-Not-Call List)
             (Brought by Plaintiff on Behalf of the Subclass)


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      49.    Plaintiff realleges and incorporates by reference each and every

allegation set forth in the preceding paragraphs.

      50.    The foregoing acts and omissions of Defendant and/or its affiliates,

agents, and/or other persons or entities acting on Defendant’s behalf constitute

numerous and multiple knowing and/or willful violations of 47 C.F.R. §

64.1200(d), by initiating any call for telemarketing purposes to Plaintiff and

members of the Subclass without following procedures for maintaining a list of

persons who request not to receive telemarketing calls. This includes Defendant’s

failure to properly record do-not-call requests, failure to maintain a record of do-

not-call requests, and failure to honor do-not-call requests.

      51.    As a result of Defendant’s and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf’s knowing and/or willful

violations of 47 C.F.R. § 64.1200(d), Plaintiff and members of the Subclass are

entitled to an award of treble damages of up to $1,500 for each and every call in

violation of the internal do-not-call list regulation, pursuant to 47 U.S.C.

§ 227(c)(5)(B).

      52.    Plaintiff and members of the Subclass are also entitled to and do seek

injunctive relief prohibiting Defendant and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf from violating 47 C.F.R. §

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64.1200(d) by failing to follow procedures for maintaining a list of persons who

request not to receive telemarketing calls in the future, pursuant to 47 U.S.C.

§ 227(c)(5)(A).

                             VIII. PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, on his own behalf and on behalf of the members of

the Class and Subclass, prays for judgment against Defendant as follows:

      A.        Certification of the proposed Class and Subclass;

      B.        Appointment of Plaintiff as the representative of the Class and

Subclass;

      C.        Appointment of Plaintiff’s counsel as counsel for the Class and

Subclass;

      D.        A declaration that Defendant and/or its affiliates, agents, and/or other

related entities’ actions complained of herein violate the TCPA;

      E.        An order enjoining Defendant and/or its affiliates, agents, and/or other

related entities, as provided by law, from engaging in the unlawful conduct set

forth herein;

      F.        An award to Plaintiff and the Class and Subclass of $1500 in damages

per violation or as allowed by law;




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       G.       An award to Plaintiff and the Class and Subclass of attorneys’ fees

and costs, as allowed by law and/or equity;

       H.       Leave to amend this Complaint to conform to the evidence presented

at trial; and

       I.       Orders granting such other and further relief as the Court deems

necessary, just, and proper.

                              IX.   DEMAND FOR JURY

       Plaintiff demands a trial by jury for all issues so triable.


                                                 ROBIN FRAZER CLARK, P.C.


                                                 /s/ Robin Frazer Clark
                                                 STATE BAR NO. 274620
                                                 Attorney for Plaintiff
                                                 and the Proposed Class


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